                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


JOE RICHARD “TREY” POOL, III,                  §
et. al,                                        §
                                               §
       Plaintiffs                              §
                                               §
v.                                             §       Civil Case No. 4:19-cv-02236
                                               §
CITY OF HOUSTON, and, PAT J.                   §
DANIEL, in her official capacity as the        §
City Secretary of the City of Houston          §
                                               §
       Defendants.                             §

                                    [PROPOSED] ORDER

       Before the Court is Plaintiffs’ “Motion to Dismiss for Summary Judgment” (Doc. 85).

Having considered the motion, all exhibits filed with the papers, and the argument of counsel, if

any, the Court is of the opinion that the motion should be GRANTED.

       IT IS THEREFORE ORDERED that the Plaintiffs’ “Motion for Summary Judgment” is

granted. The Court will enter a final judgment by separate document pursuant to Federal Rule of

Civil Procedure 58.




       Date:_______________________________              _______________________________
                                                              VANESSA D. GILMORE
                                                         UNITED STATES DISTRICT JUDGE
